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      NESTLÉ USA, INC.
 10
                       UNITED STATES DISTRICT COURT
 11               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 12
 13   NESTLÉ USA, INC.,                    )   Case No. 2:15-cv-06527
                                           )
 14                      Plaintiff,        )   Hon.
 15                                        )
       v.                                  )   COMPLAINT AND DEMAND
 16                                        )   FOR JURY TRIAL
 17   PERVINE FOODS, LLC,                  )
                                           )
 18                      Defendant.        )
 19                                        )
                                           )
 20                                        )
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                                               COMPLAINT AND DEMAND FOR JURY TRIAL
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  1         Nestlé USA, Inc. (“Nestlé”), by and through its attorneys, Mayer Brown
  2   LLP, as and for its complaint against Pervine Foods, LLC (“Pervine”), alleges as
  3   follows:
  4                 NATURE OF ACTION AND RELIEF SOUGHT
  5         1.     This is an action for trade dress and trademark infringement,
  6   dilution, false designation of origin, deceptive acts and practices, and unfair
  7   competition arising out of Pervine’s nationwide sale of chocolate nutrition bars
  8   in packages nearly identical to Nestlé’s CRUNCH packages.
  9         2.     Nestlé has spent more than half a century and many millions of
 10   dollars building the CRUNCH brand, which has since become one of America’s
 11   most familiar and trusted brands. Nestlé’s iconic CRUNCH packages, designed
 12   with the distinctive CRUNCH trademarks and trade dress, represent a single
 13   source of chocolate bars with a distinctive texture and crunch.
 14         3.     With full knowledge of Nestlé’s trademarks and trade dress,
 15   Pervine sells its chocolate nutrition bars in packaging using the trademark FIT
 16   CRUNCH, which incorporates Nestlé’s iconic mark CRUNCH. Moreover, in
 17   an effort to trade upon Nestlé’s hard-earned goodwill, some of the packaging
 18   sold by Pervine bear visual elements that are confusingly similar to the
 19   distinctive visual properties adopted by Nestlé for its CRUNCH trade dress.
 20   This includes red font for the mark CRUNCH and the color combination red,
 21   white and blue, with blue as the dominant color.
 22         4.     Pervine’s unlawful conduct is causing and will continue to cause
 23   irreparable harm to Nestlé. Pervine’s use of remarkably similar packaging in
 24   combination with the confusingly similar trademark FIT CRUNCH, which
 25   incorporates Nestlé’s trademark CRUNCH in connection with the sale of the
 26   same goods, to the same consumers, in the same stores will inevitably cause
 27   consumer confusion as to the source of the Pervine products or as to a perceived
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  1   affiliation, association or sponsorship between Nestlé and Pervine that does not
  2   exist.
  3            5.   Pervine’s use of nearly identical packaging and trademarks is also
  4   likely to cause dilution by blurring of, and does, in fact, dilute and detract from
  5   the distinctiveness of Nestlé’s CRUNCH trademarks and trade dress.
  6                                    THE PARTIES
  7            6.   Nestlé USA, Inc., exclusive licensee of Société des Produits Nestlé
  8   S.A. in the United States, is organized and exists under the laws of the State of
  9   Delaware with its principal place of business located at 800 North Brand Blvd.,
 10   Glendale, California 91203.
 11            7.   Upon information and belief, Pervine Foods, LLC is a Pennsylvania
 12   limited liability company with its principal place of business at 111 Terence
 13   Drive, Pittsburgh, Pennsylvania 15236.
 14                           JURISDICTION AND VENUE
 15            8.   This Court has subject matter jurisdiction over this action pursuant
 16   to 28 U.S.C. § 1331 (federal question) and supplemental jurisdiction pursuant to
 17   28 U.S.C. § 1367(a).
 18            9.   This Court has personal jurisdiction over Pervine because the
 19   activity complained of herein is aimed at the State of California and Pervine is
 20   conducting business in this District. Among other things, Pervine transacts
 21   business in this State, contracts to supply goods in this State, caused tortious
 22   injury by an act or omission in this State, caused tortious injury in this State by
 23   an act or omission outside this State, regularly does or solicits business or
 24   engages in a persistent course of conduct in this State, and/or caused tortious
 25   injury in this State by an act outside this State committed with the purpose of
 26   injuring persons when it might have reasonably expected to cause injury in this
 27   State. Further, Pervine’s unlawful conduct was intentional, was intentionally
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  1   directed to cause harm to Nestlé, and has caused harm to Nestlé in California.
  2          10.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and
  3   (c) because a substantial part of the events giving rise to this action occurred in
  4   this District.
                                              FACTS
  5
  6   Nestlé’s CRUNCH Trademarks and Trade Dress

  7          11.       The rich history of Nestlé’s CRUNCH brand dates back to the

  8   1930s, when Nestlé chocolate makers experimented with their already popular

  9   Nestlé Milk Chocolate bar by adding crisped rice. Today, CRUNCH branded

 10   products are sold by Nestlé in over 50 countries worldwide. Since Nestlé’s first

 11   use of the mark in commerce, Nestlé’s CRUNCH trademark and trade dress

 12   have become preeminent in the food industry, especially with regard to

 13   chocolate bars, ice creams and frozen desserts. The CRUNCH mark is so iconic

 14   that the company has responded to consumers’ love of the brand by creating

 15   memorabilia including t-shirts, model cars, plush pillows, embossed tins, cell

 16   phone covers, headphones, and socks featuring the famous CRUNCH trademark

 17   and trade dress.

 18          12.       In addition to Nestlé’s common law rights in and to the CRUNCH

 19   trademark and trade dress (                 ), Nestlé’s famous trademarks in the

 20   CRUNCH name and design are the subject of numerous incontestable federal

 21   and foreign registrations, including U.S. Reg. No. 0630563 (1956) (                in

 22   class 30 for milk chocolate with first use in commerce date of November 1937)

 23   and U.S. Reg. No. 1110632 (1979) (                          in class 30 for chocolate

 24   coated ice cream bars with first use in commerce date of June 1977)

 25   (collectively the “NESTLÉ CRUNCH Trademarks”).                 (Copies of the U.S.

 26   trademark registration certificates for the NESTLÉ CRUNCH Trademarks are

 27   attached hereto as Exhibit A-1 and a full list of Nestlé’s worldwide holdings for

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  1   its CRUNCH trademark and related trade dress portfolio is attached hereto as
  2   Exhibit A-2. By reference, these exhibits are made a part hereof.)
  3         13.      Since the 1930s, when Nestlé’s first CRUNCH chocolate bars were
  4   introduced, Nestlé’s CRUNCH trademark has expanded to be used in
  5   connection with a wide variety of chocolate products, including fun-sized,
  6   miniature-sized, and bite-sized versions of the original, as well as ice cream and
  7   wafer variations of the iconic bar. (These products are collectively displayed on
  8   Nestlé’s          CRUNCH           product          page         located         at
  9   http://www.nestlecrunch.com/products.aspx, a copy of which is attached hereto
 10   as Exhibit B-1; an enlarged example of Nestlé’s original CRUNCH bar is
 11   attached as Exhibit B-2. By reference these exhibits are made a part hereof.) In
 12   addition to its marketing of chocolate bars, chocolate confections, ice cream, and
 13   frozen confections under the CRUNCH brand, Nestlé also has many co-branded
 14   CRUNCH products, including Yo-Crunch yogurt, Lunchables, and other baked
 15   goods featuring Nestlé’s CRUNCH products. (See depictions at Exhibits B-3,
 16   B-4, B-5, and B-6, which are attached to and made a part hereof.)
 17         14.      The CRUNCH logo, which includes the CRUNCH word mark in
 18   all red capital letters set within a white rectangle with accent marks cutting into
 19   a solid blue background, appears on every Nestlé’s CRUNCH bar and represents
 20   the quality of Nestlé’s CRUNCH brand.
 21         15.      In addition to bearing the CRUNCH Trademark and logo, all of
 22   Nestlé’s CRUNCH products are immediately recognized by their distinctive
 23   trade dress.    Nestlé’s CRUNCH trade dress in the packaging of its iconic
 24   chocolate bars consists of several key elements: (i) the use of blue as the single
 25   dominant background color; (ii) the use of red for the word CRUNCH (iii) the
 26   appearance of the text on a white background; (iv) the predominance of the
 27   word “CRUNCH”; and (v) the accent marks surrounding the word “CRUNCH”.
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  1   These key elements collectively comprise Nestlé’s CRUNCH Trade Dress (the
  2   “Nestlé’s CRUNCH Trade Dress”). (See Exhibits B1 and B2.)
  3         16.    Nestlé’s CRUNCH Trademark and the key elements of the Nestlé’s
  4   CRUNCH Trade Dress are non-functional.          Neither the Nestlé’s CRUNCH
  5   Trademark nor any individual trade dress element is essential to the use or
  6   purpose of packaging or selling chocolate bars, and Nestlé’s exclusive use of
  7   these combined elements does not put Pervine or any other competitor at a non-
  8   reputation-related disadvantage.
  9         17.    Additionally, Nestlé’s CRUNCH Trademark and the key elements
 10   of the Nestlé’s CRUNCH Trade Dress are inherently distinctive and have been
 11   indicators of Nestlé’s quality since their adoption. When viewed in conjunction
 12   (as they are on Nestlé’s CRUNCH packages), the distinctiveness of Nestlé’s
 13   CRUNCH Trademark and key elements of Nestlé’s CRUNCH Trade Dress is
 14   only reinforced.
 15         18.    Nestlé’s CRUNCH Trademark and Trade Dress have also acquired
 16   a high degree of distinctiveness and fame in the minds of consumers through
 17   consistent use, widespread and substantial advertising and promotion, and
 18   tremendous commercial success, both nationally and internationally. A sampling
 19   of international decisions acknowledging the fame of Nestlé’s CRUNCH
 20   trademark is attached hereto as Exhibits C-1 and C-2. Consumers everywhere
 21   recognize the Nestlé’s CRUNCH Trademark and Trade Dress as representative
 22   of high quality Nestlé products.
 23         19.    Since the Nestlé’s CRUNCH name and design were first used,
 24   Nestlé has spent many millions of dollars building its CRUNCH brand and
 25   cultivating the goodwill associated with the brand, such that it is now one of
 26   America’s most familiar and trusted brands.
 27         20.    Nestlé’s CRUNCH brand and products appear in print materials, in
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  1   commercials, in stores, and in digital media.
  2            21.   Nestlé markets and advertises its CRUNCH bars directly to
  3   consumers on the Internet via Nestlé’s websites, including the Nestlé USA
  4   website located at http://www.nestleusa.com/brands/chocolate (last visited
  5   August         6,    2015)     and     the        CRUNCH       brand       website,
  6   http://www.nestlecrunch.com/ (last visited August 6, 2015).
  7            22.   Nestlé’s CRUNCH products are also marketed through social
  8   media avenues such as Facebook (see https://www.facebook.com/nestlecrunch
  9   (last visited August 6, 2015)) and on the company’s recipe website, Meals.com
 10   (see http://www.meals.com/search-results/?filter=nestle-crunch (last visited
 11   August         6,    2015)),     and      blog,      Nestlé     Kitchens       (see
 12   https://nestleusa.wordpress.com/ (last visited August 6, 2015)).
 13            23.   Nestlé products bearing Nestlé’s CRUNCH Trademark and Trade
 14   Dress are distributed nationwide and are sold to the general public through
 15   retailers including Target, Wal-Mart, Amazon, Walgreens, ShopRite, and others.
 16            24.   Nestlé has sold hundreds of millions of packages of chocolate bars
 17   and other chocolate products featuring Nestlé’s CRUNCH Trademark and Trade
 18   Dress.
 19            25.   In the minds of consumers, Nestlé’s CRUNCH Trademark and
 20   Trade Dress represent a single source of high quality chocolate and chocolate
 21   bars. As a result of its efforts and commercial success, Nestlé has developed
 22   substantial and valuable goodwill in its CRUNCH brand.
 23   Pervine’s Infringing Trademarks and Trade Dress
 24            26.   Upon information and belief, Pervine is a Pennsylvania-based
 25   company that manufactures and sells nutrition bars containing chocolate.
 26            27.   On or about June 2014, Nestlé became aware that Pervine was
 27   selling its FIT CRUNCH bars in packaging that displays the word “CRUNCH”
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                                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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  1   as the predominant feature, with the wording appearing in bold red font and
  2   capital letters on a white background, in nearly identical fashion to Nestlé’s
  3   presentation of its CRUNCH Trademark. In addition, the “Cookies and Cream”
  4   variety of the FIT CRUNCH bar featured a blue background that was
  5   substantially similar to the overall look and feel of Nestlé’s famous CRUNCH
  6   packaging and trade dress.
  7         28.    Pervine’s trademarks, which include the FIT CRUNCH word mark
  8   (Reg. No.    4501292) and a logo containing a stylized version of the FIT
  9   CRUNCH word mark (Reg. No. 4501294) (the “Infringing Marks”), are
 10   remarkably similar to Nestlé’s CRUNCH Trademark and are especially likely to
 11   cause consumer confusion when viewed as a part of the nearly identical
 12   packaging.
 13         29.    The FIT CRUNCH logo, as depicted at http://fitcrunchbars.com/
 14   (attached as Exhibit D and by reference made a part hereof) is strikingly similar
 15   to Nestlé’s CRUNCH Trademark. Both make predominant use of the word
 16   “CRUNCH”, which is identical when seen in print or spoken aloud; (ii) the word
 17   “CRUNCH” is displayed in capital letters and in primarily red font in both
 18   presentations; and (iii) both feature accent marks surrounding the word
 19   “CRUNCH”. The FIT CRUNCH presentation conjures the thought of enjoying
 20   a protein and vitamin fortified or “fit” version of Nestlé’s iconic CRUNCH bar
 21   in the minds of consumers.
 22         30.    As noted above, the Infringing Marks are so similar in sight, sound,
 23   and meaning to Nestlé’s CRUNCH Trademark that they are likely to cause
 24   significant consumer confusion.
 25         31.    The likelihood of confusion is even more extreme when the
 26   Infringing Marks are viewed in conjunction with the key trade dress elements of
 27   Nestlé’s relevant CRUNCH packages (the “Infringing Trade Dress”)
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                                                   COMPLAINT AND DEMAND FOR JURY TRIAL
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  1   (collectively, the “Infringing Marks and Trade Dress”). In fact, Pervine appears
  2   to have outright copied every key element of Nestlé’s CRUNCH Trade Dress,
  3   including: (i) the use of blue as the single dominant background color for at least
  4   one of its varieties; (ii) the use of red for the word CRUNCH; (iii) the
  5   appearance of the text on a white background; (iv) the predominance of the
  6   word “CRUNCH”; and (v) the accent marks surrounding the word “CRUNCH”.
  7   (An example of Pervine’s packaging for the “Cookies and Cream” variety as
  8   found at Amazon.com is attached as Exhibit E-1; an example of Pervine’s
  9   packaging for the “Chocolate Chip Cookie Dough” variety as found at
 10   Amazon.com is attached as Exhibit E-2; and an example of Pervine’s
 11   packaging for the “Peanut Butter” variety as found at Amazon.com is attached
 12   as Exhibit E-3. By reference these exhibits are made a part hereof.)
 13   Pervine’s Bad Faith
 14          32.   The fame of Nestlé’s CRUNCH Trademark and Trade Dress and
 15   the striking resemblance of all aspects of the Infringing Marks and Trade Dress
 16   to those of Nestlé’s CRUNCH strongly evidence Pervine’s bad faith.
 17          33.   Pervine did not introduce its products into the marketplace until
 18   after Nestlé’s CRUNCH Trademark and Trade Dress had achieved an extremely
 19   high degree of recognition among American consumers and after Nestlé had
 20   obtained federal registrations for its NESTLÉ CRUNCH Trademarks.
 21          34.   The striking similarity of all aspects of the Infringing Marks and
 22   packages cannot be a coincidence.
 23          35.   A press release for the FIT CRUNCH product dated September 25,
 24   2013 boasts that “each bar has a candy bar crunch with a soft cookie center.”
 25   (See             http://www.marketwatch.com/story/celebrity-chef-robert-irvine-
 26   collaborates-with-fortifx-to-unveil-signature-line-of-worlds-only-six-layer-
 27   baked-protein-bars-called-fit-crunchtm-2013-09-25 (last visited August 6,
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   1   2015)). Furthermore, upon information and belief, Pervine’s VP of Sales has
   2   said that the bars are “better than a Snickers,” but contain less sugar.
   3         36.       Although the Infringing Marks are registered in Class 5 for “[h]igh-
   4   protein nutritional supplements formed and packaged as bars,” Pervine’s
   5   products consist of bars containing chocolate and the company has made a
   6   deliberate attempt to liken them to candy bars.
   7   The Likelihood of Confusion, Likelihood of Dilution, and Irreparable Harm
       to Nestlé
   8
             37.       The striking similarities between the Infringing Marks and Trade
   9
       Dress and Nestlé’s CRUNCH Trademark and Trade Dress make it likely that
  10
       Pervine’s bars will be mistaken for Nestlé’s CRUNCH bars, or a low calorie or
  11
       healthier version of the same.
  12
             38.       The fact that Pervine’s bars bearing the Infringing Marks and Trade
  13
       Dress are being sold in the very same stores that have sold Nestlé’s CRUNCH
  14
       bars for years makes consumer confusion inevitable. (A screen shot showing
  15
       that one of Pervine’s FIT CRUNCH products appears in the top ten search
  16
       results for “CRUNCH BAR” on Amazon.com alongside five of Nestlé’s
  17
       authentic CRUNCH products is attached as Exhibit F and by reference made a
  18
       part hereof.)
  19
             39.       Chocolate bars are a low-cost food item. Customers have grown
  20
       accustomed to grabbing a package with Nestlé’s CRUNCH Trade Dress from
  21
       the shelves of the stores they frequent and consistently ending up with the Nestlé
  22
       quality they expect.
  23
             40.       The FIT CRUNCH bars deliver a much different consumer
  24
       experience than that which consumers of Nestlé’s CRUNCH bars have come to
  25
       expect. As a nutritional supplement, FIT CRUNCH detracts from the indulgent
  26
       and enduring taste of pure milk chocolate combined with crisped rice for which
  27
       Nestlé is famous.
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                                                       COMPLAINT AND DEMAND FOR JURY TRIAL
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   1         41.    Pervine’s use of the Infringing Marks and Trade Dress in
   2   commerce to advertise, promote, market and sell its directly competing
   3   chocolate bars is likely to, and does in fact, dilute, blur and detract from the
   4   distinctiveness of Nestlé’s famous CRUNCH Trademarks and Trade Dress. As
   5   explained above, Pervine did not introduce its bars into the marketplace until
   6   after Nestlé’s CRUNCH Trademarks and Trade Dress had achieved an
   7   extremely high degree of recognition across the United States. Pervine’s use of
   8   highly similar trademarks and trade dress, and its apparent intention to create an
   9   association between itself and Nestlé’s CRUNCH Trademarks and Trade Dress
  10   and the goodwill symbolized thereby, creates a strong likelihood that Pervine’s
  11   conduct is causing actual association between Pervine’s FIT CRUNCH bars and
  12   Nestlé’s CRUNCH bars.
  13         42.    As a direct and proximate result of Pervine’s unauthorized conduct,
  14   Nestlé has been substantially damaged by confusion among consumers as to
  15   Nestlé’s association or connection with, or endorsement or authorization of,
  16   Pervine and Pervine’s products, and the dilution of Nestlé’s famous CRUNCH
  17   Trademarks and Trade Dress.
  18         43.    As a result of Pervine’s misappropriation of Nestlé’s CRUNCH
  19   Trademarks and Trade Dress, Pervine has caused, and will continue to cause,
  20   irreparable injury to Nestlé and has substantially damaged the value of Nestlé’s
  21   CRUNCH Trademark and Trade Dress.
  22         44.    In addition, Pervine has unjustly enriched itself at Nestlé’s expense
  23   by advertising and selling products that appropriate and exploit Nestlé’s
  24   goodwill and reputation. Among the benefits that Pervine has gained from this
  25   conduct are increased revenues from the sale of its products bearing the
  26   Infringing Marks and Trade Dress.
  27
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                                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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                                     COUNT 1
   1         (Trademark and Trade Dress Infringement, False Designation of
                Origin and Unfair Competition under 15 U.S.C. § 1125(a))
   2
                45.   Nestlé repeats and realleges paragraphs 1 – 44 as if fully set forth
   3
       herein.
   4
                46.   Société des Produits Nestlé S.A. owns the registered NESTLÉ
   5
       CRUNCH Trademarks and plaintiff Nestlé USA, Inc. is the exclusive licensee
   6
       of the NESTLÉ CRUNCH Trademarks in the United States.
   7
                47.   The registered NESTLÉ CRUNCH Trademarks are valid and
   8
       subsisting.
   9
                48.   As alleged above, the NESTLÉ CRUNCH Trademarks and key
  10
       elements of the NESTLÉ CRUNCH Trade Dress are inherently distinctive and
  11
       have also become famous and acquired secondary meaning.
  12
                49.   The NESTLÉ CRUNCH Trademarks and Trade Dress were
  13
       distinctive long before Pervine began using the Infringing Marks and Trade
  14
       Dress.
  15
                50.   The NESTLÉ CRUNCH Trademarks and key elements of the
  16
       NESTLÉ CRUNCH Trade Dress are non-functional.
  17
                51.   Pervine’s unauthorized use in commerce of the Infringing Marks
  18
       and Trade Dress is likely to cause consumer confusion or mistake or to deceive
  19
       consumers into believing that Pervine’s products are sponsored by, endorsed by,
  20
       or originate from Nestlé or are otherwise connected or affiliated with, or
  21
       approved by Nestlé, and constitutes: (i) trademark infringement; (ii) trade dress
  22
       infringement; (iii) false designation of origin; and/or (iv) unfair competition.
  23
                52.   Upon information and belief, Pervine’s conduct is malicious,
  24
       intentional and willful.
  25
                53.   Pervine’s conduct has caused, and unless enjoined, will continue to
  26
       cause, irreparable harm and injury to Nestlé’s business reputation and goodwill
  27
       as well as inevitable public confusion and substantial and irreparable harm to the
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                                                      COMPLAINT AND DEMAND FOR JURY TRIAL
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   1   public.
   2         54.     Pervine’s conduct has substantially damaged the value of the
   3   NESTLÉ CRUNCH Trademarks and Trade Dress and causes Nestlé to suffer
   4   damages in an unascertainable amount.
   5         55.     By reason of the foregoing, Nestlé is entitled to injunctive relief
   6   pursuant to 15 U.S.C. § 1116.
   7         56.     Pursuant to 15 U.S.C. § 1117, Nestlé is also entitled to recover
   8   damages in an amount including, but not limited to, profits made by Pervine on
   9   the sale of its products using the Infringing Marks and Trade Dress, and the
  10   costs of this action.
  11         57.     Nestlé is further entitled to recover treble damages and reasonable
  12   attorneys’ fees pursuant to 15 U.S.C. § 1117, since Pervine’s actions were
  13   undertaken willfully and with the intention of causing confusion, mistake and
  14   deception on the part of the public.
  15                                    COUNT II
                     (Trademark Infringement under 15 U.S.C. § 1114(1))
  16
  17         58.     Nestlé repeats and realleges paragraphs 1 – 57 as if fully set forth
  18   herein.
  19         59.     Société des Produits Nestlé S.A. owns the registered NESTLÉ
  20   CRUNCH Trademarks and plaintiff Nestlé USA, Inc. is the exclusive licensee
  21   of the NESTLÉ CRUNCH Trademarks in the United States.
  22         60.     The registered NESTLÉ CRUNCH Trademarks are valid and
  23   subsisting.
  24         61.     As alleged above, the NESTLÉ CRUNCH Trademarks are
  25   inherently distinctive and have also become famous and acquired secondary
  26   meaning.
  27         62.     The NESTLÉ CRUNCH Trademarks and Trade Dress were
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   1   distinctive long before Pervine began using the Infringing Marks and Trade
   2   Dress.
   3            63.   The NESTLÉ CRUNCH Trademarks are non-functional.
   4            64.   Pervine’s use of the Infringing Marks in interstate commerce to
   5   advertise, promote, market and sell its baking chips constitutes infringement of
   6   Nestlé’s NESTLÉ CRUNCH Trademarks.
   7            65.   Pervine’s conduct constitutes the unauthorized use in commerce in
   8   the United States of the registered NESTLÉ CRUNCH Trademarks in
   9   connection with the sale, offering for sale, distribution, or advertising of its
  10   products. Pervine’s unauthorized use of the Infringing Marks is likely to cause
  11   confusion, mistake and deception of the public as to the affiliation, connection,
  12   and/or association between Nestlé and Pervine; the origin of the Pervine
  13   nutrition bars containing chocolate; and/or the sponsorship, endorsement, or
  14   approval of the Pervine products by Nestlé, in each case a violation of Section
  15   32 of the Lanham Act, 15 U.S.C. § 1114(1).
  16            66.   Upon information and belief, Pervine has undertaken these actions
  17   maliciously, willfully and with the devious intent to cause confusion, mistake
  18   and deception on the part of the public.
  19            67.   Pervine’s actions have caused, and unless enjoined, will continue to
  20   cause, irreparable harm and injury to Nestlé’s business reputation and goodwill
  21   as well as public confusion and substantial and irreparable harm to the public for
  22   which there is no adequate remedy at law.
  23            68.   Pervine’s conduct has substantially damaged the value of the
  24   NESTLÉ CRUNCH Trademarks and Trade Dress and causes Nestlé to suffer
  25   damages in an unascertainable amount.
  26            69.   By reason of the foregoing, Nestlé is entitled to injunctive relief
  27   pursuant to 15 U.S.C. § 1116.
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   1            70.   Pursuant to 15 U.S.C. § 1117, Nestlé is also entitled to recover
   2   damages in an amount including, but not limited to, profits made by Pervine on
   3   the sale of its products using the Infringing Marks, and the costs of this action.
   4            71.   Nestlé is further entitled to recover treble damages and reasonable
   5   attorneys’ fees pursuant to 15 U.S.C. § 1117, since Pervine’s actions were
   6   undertaken willfully and with the intention of causing confusion, mistake and
   7   deception on the part of the public.
   8                                      COUNT III
                              (Dilution under 15 U.S.C. § 1125(c))
   9
  10            72.   Nestlé repeats and realleges paragraphs 1 – 71 as if fully set forth
  11   herein.
  12            73.   Société des Produits Nestlé S.A. owns the registered NESTLÉ
  13   CRUNCH Trademarks and plaintiff Nestlé USA, Inc. is the exclusive licensee
  14   of the NESTLÉ CRUNCH Trademarks in the United States.
  15            74.   The registered NESTLÉ CRUNCH Trademarks are valid and
  16   subsisting.
  17            75.   As alleged above, the NESTLÉ CRUNCH Trademarks and key
  18   elements of the NESTLÉ CRUNCH Trade Dress are inherently distinctive and
  19   have also become famous and acquired secondary meaning.
  20            76.   The NESTLÉ CRUNCH Trademarks and Trade Dress were
  21   distinctive long before Pervine began using the Infringing Marks and Trade
  22   Dress.
  23            77.   The NESTLÉ CRUNCH Trademarks and key elements of the
  24   NESTLÉ CRUNCH Trade Dress are non-functional.
  25            78.   The NESTLÉ CRUNCH Trademarks and Trade Dress are famous
  26   and widely recognized by the general consuming public of the United States as a
  27   source designation for Nestlé’s goods. Among other things: (i) the NESTLÉ
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   1   CRUNCH Trademarks and Trade Dress are inherently distinctive and have also
   2   acquired a high degree of distinctiveness; (ii) the NESTLÉ CRUNCH
   3   Trademarks and Trade Dress have been used for more than half a century
   4   throughout the United States; (iii) Nestlé has spent many millions of dollars
   5   advertising and publicizing the NESTLÉ CRUNCH Trademarks and Trade
   6   Dress in the United States; (iv) Nestlé has used the NESTLÉ CRUNCH
   7   Trademarks and Trade Dress throughout the United States; (v) the NESTLÉ
   8   CRUNCH Trademarks and Trade Dress are among the preeminent marks in the
   9   food industry, especially with regard to chocolate bars and related products; (vi)
  10   the NESTLÉ CRUNCH Trademarks and Trade Dress have an extremely high
  11   degree of recognition among the general consuming public of the United States;
  12   and (vii) Nestlé has sold hundreds of millions of chocolate bars featuring the
  13   NESTLÉ CRUNCH Trademarks and Trade Dress.
  14         79.    Pervine began selling its bars bearing the Infringing Marks and
  15   Trade Dress after the NESTLÉ CRUNCH Trademarks and Trade Dress had
  16   already achieved an extremely high degree of recognition among American
  17   consumers. Indeed, it appears that the Infringing Marks and Trade Dress were
  18   modeled directly after the NESTLÉ CRUNCH Trademarks and Trade Dress.
  19         80.    Pervine’s conduct, described above, blurs and impairs the
  20   distinctiveness of the famous NESTLÉ CRUNCH Trademarks and Trade Dress
  21   because: (i) Pervine uses highly similar trademarks and trade dress to promote
  22   its products; and (ii) it appears that Pervine intended to create an association
  23   between itself and the NESTLÉ CRUNCH Trademarks and Trade Dress and the
  24   goodwill symbolized thereby. Pervine’s use of the Infringing Marks and Trade
  25   Dress for the advertisement and sale of the Pervine products is likely to cause
  26   actual association between Pervine’s goods and the NESTLÉ CRUNCH brand,
  27   as consumers are apt to think that Pervine’s FIT CRUNCH product is a low
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   1   calorie or healthier version of Nestlé’s iconic CRUNCH bar.
   2         81.    Pervine’s conduct is likely to, and does in fact, cause damage to
   3   Nestlé and to the substantial goodwill symbolized by the NESTLÉ CRUNCH
   4   Trademarks and Trade Dress, in violation of 15 U.S.C. § 1125(c).
   5         82.    Upon information and belief, Pervine intended to cause dilution of
   6   Nestlé’s distinctive NESTLÉ CRUNCH Trademarks and Trade Dress, and
   7   Pervine’s actions were in conscious disregard of Nestlé’s rights.
   8         83.    Pervine’s actions have caused, and unless enjoined, will continue to
   9   cause irreparable harm and injury to Nestlé’s business reputation and goodwill
  10   as well as public confusion and substantial and irreparable harm to the public for
  11   which there is no adequate remedy at law.
  12         84.    Pervine’s conduct has substantially damaged the value of the
  13   NESTLÉ CRUNCH Trademarks and Trade Dress and causes Nestlé to suffer
  14   damages in an unascertainable amount.
  15         85.    By reason of the foregoing, Nestlé is entitled to injunctive relief
  16   against Pervine, restraining further acts of dilution.
  17         86.    Pursuant to 15 U.S.C. § 1117, Nestlé is entitled to recover actual
  18   damages, treble damages, Pervine’s profits, the costs of the action, and
  19   attorneys’ fees.
  20                                 COUNT IV
                          (Common Law Trademark Infringement)
  21
  22         87.    Nestlé repeats and realleges paragraphs 1 – 86 as if fully set forth
  23   herein.
  24         88.    Nestlé owns and enjoys common law trademark rights throughout
  25   the United States in its CRUNCH Trademark and Trade Dress in connection
  26   with the advertising, sale and distribution of its chocolate products.
  27         89.    Pervine’s use in commerce of the term CRUNCH and the
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   1   confusingly similar trade dress in connection with the advertising, marketing,
   2   sale, and distribution of its nutrition bars containing chocolate is likely to cause
   3   confusion, and/or to cause mistake or to deceive the consuming public.
   4          90.    By these wrongful acts, Pervine has caused, and unless restrained
   5   by this Court, will continue to cause, serious and irreparable injury and damage
   6   to Nestlé and to the goodwill, reputation, and business success associated with
   7   Nestlé’s name and its CRUNCH Trademark and Trade Dress throughout the
   8   United States.
   9          91.    Upon information and belief, Pervine has profited or will profit by
  10   its wrongful conduct and activities.
  11          92.    Nestlé has no adequate remedy at law for Pervine’s common law
  12   trademark infringement.
  13          93.    Pervine’s acts of trademark infringement have further caused
  14   Nestlé to sustain monetary damages, loss and injury, including lost sales and
  15   injury to reputation and business goodwill, in an amount to be determined at the
  16   trial in this action.
  17                                     COUNT V
                        (Unfair Competition Under California Business
  18                        and Professions Code § 17200 et seq.)
  19          94.    Nestlé repeats and realleges paragraphs 1 – 93 as if fully set forth
  20   herein.
  21          95.    Pervine’s use of the term CRUNCH in connection with the
  22   advertising, marketing, sale and distribution of its nutrition bars containing
  23   chocolate infringes the NESTLÉ CRUNCH Trademarks and Trade Dress, in
  24   violation of Lanham Act §32, 15 U.S.C. § 1114. Pervine’s use of the term
  25   CRUNCH constitutes a false designation of origin and unfair competition, in
  26   violation of Lanham Act §43(a), 15 U.S.C. § 1125(a), and is likely to cause
  27   confusion, or to cause mistake or to deceive the consuming public as to the
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   1   affiliation, connection, or association of Pervine’s products with Nestlé’s
   2   products.
   3         96.      In addition to being unlawful, Pervine’s use of the term CRUNCH
   4   in connection with the advertising, marketing, sale and distribution in interstate
   5   commerce of its products constitutes unfair competition in that it is likely to
   6   cause confusion to consumers. The general consuming public, who are familiar
   7   with Nestlé’s iconic CRUNCH brand, are likely to assume that Pervine’s
   8   products advertised, marketed, sold and distributed under the term CRUNCH are
   9   related to, or from the same source as, Nestlé’s products. This will injure
  10   Nestlé’s business reputation and impair its goodwill and ability to build its
  11   business and market and sell its products. Consumers’ purchasing decisions will
  12   be influenced by this confusion.
  13         97.      Pervine’s unlawful and unfair actions discussed herein constitute
  14   unfair competition within the meaning of California Business and Professions
  15   Code § 17200.
  16         98.      Upon information and belief, Pervine has profited or will profit by
  17   its wrongful conduct and activities.
  18         99.      Nestlé has no adequate remedy at law for Pervine’s unfair
  19   competition.
  20         100. Pursuant to California Business and Professions Code § 17203,
  21   Nestlé is entitled to preliminary and permanent injunctive relief ordering Pervine
  22   to cease this unfair competition, as well as disgorgement of Pervine’s profits
  23   associated with this unfair competition.
  24                                PRAYER FOR RELIEF
  25         WHEREFORE, Nestlé prays that this Court enter judgment in its favor
  26   and against Pervine as follows:
  27         A.       Preliminarily and permanently enjoining Pervine, its officers,
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   1   agents, servants, employees, subsidiaries, parents, affiliates, related entities,
   2   suppliers, customers, successors, assigns and attorneys, and those acting in
   3   concert with, by or through them, from:
   4         (i)     selling, displaying, and/or advertising Pervine’s nutrition bars in
   5                 infringing packaging;
   6         (ii)    using in any manner any logo, mark, or trade dress that contains
   7                 any of Nestlé’s trademarks, trade dress, and/or any similar variation
   8                 thereof, alone or together;
   9         (iii)   in any way seeking to, directly or indirectly, misappropriate the
  10                 goodwill and reputation associated with the Nestlé’s Trademarks or
  11                 Trade Dress;
  12         (iv)    in any way inducing, directly or indirectly, the belief that Pervine’s
  13                 products have been or are in any way connected to or associated
  14                 with or approved or endorsed by Nestlé.
  15         B.      Directing Pervine, pursuant to 15 U.S.C. § 1116(a) or otherwise, to
  16   file with this Court and serve on Nestlé within (30) days of entry of any
  17   injunction, or such other time as directed by the Court, a report in writing and
  18   under oath setting forth in detail the manner and form in which Pervine has
  19   complied with the injunction.
  20         C.      Ordering the recall and destruction of any marketing materials,
  21   advertisements, receptacles, displays and products of Pervine, the manufacture
  22   or sale of which is enjoined pursuant to any injunction ordered by the Court, or
  23   that violate 15 U.S.C. § 1125(a).
  24         D.      Ordering Pervine to pay Nestlé:
  25         (i)     An accounting and disgorgement of all of Pervine’s profits
  26                 resulting from infringement and profits and gains of any kind
  27                 resulting from Pervine’s willful violations, and three times the
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   1                 amount thereof pursuant to 15 U.S.C. § 1117(a).
   2         (ii)    Nestlé’s reasonable attorneys’ fees, disbursements, costs and
   3                 expenses in connection with this action, pursuant to 15 U.S.C. §
   4                 1117(a) and California law.
   5         (iii)   Punitive damages.
   6         E.      Awarding Nestlé such other and further relief as this Court deems
   7   just and proper.
                                DEMAND FOR JURY TRIAL
   8
             In accordance with Rule 38(b) of the Federal Rules of Civil Procedure,
   9
       Nestlé hereby demands a trial by jury with respect to all issues and claims,
  10
       asserted by any party, triable of right by a jury, in the above-captioned action.
  11
  12   Dated: August 26, 2015
  13                                                     MAYER BROWN LLP
  14
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